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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         )
SUSMAN GODFREY LLP,                      )
                                         )
         Plaintiff                       )            Civil Action
                                         )            No. 1:25-cv-1107 (LLA)
                                         )
                                         )
                      v.                 )
                                         )
EXECUTIVE OFFICE                         )
OF THE PRESIDENT, et al                  )
                                         )
         Defendant.                      )
                                         )



         BRIEF OF LAWYERS DEFENDING AMERICAN DEMOCRACY
   AS AMICUS CURIAE IN SUPPORT OF PLAINTIFF SUSMAN GODFREY LLP’S
                   MOTION FOR SUMMARY JUDGMENT
        AND DECLARATORY AND PERMANENT INJUNCTIVE RELIEF




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                    RULE 26.1 CORPORATE DISCLOSURE STATEMENT

        Amicus Curiae Lawyers Defending American Democracy is a non-partisan tax-exempt

501(c)(3) corporation. Amicus is not owned by any parent corporation and no publicly held

company has 10% or more ownership in LDAD.

                             IDENTITY AND INTEREST OF AMICUS

        Lawyers Defending American Democracy (LDAD) files this amicus brief in support of

plaintiff’s motion for summary judgment and declaratory and permanent injunctive relief. LDAD

is a non-profit, non-partisan organization devoted to: encouraging the legal profession to enforce

and uphold principles of democracy and law, consistent with our obligations as lawyers;

demanding accountability from lawyers and public officials; and identifying attacks on legal norms

and prescribing redress for them. It has a significant interest in this case because the Executive

Order at issue undermines basic principles of democracy and the rule of law.1 Susman Godfrey

and the United States Department of Justice have consented to our filing this brief, and a motion

for leave to file it is attached.


                                    SUMMARY OF ARGUMENT

        The Order regarding Susman Godfrey is a serious intrusion by the executive branch on the

authority of the judicial branch to regulate the conduct of lawyers. This intrusion represents an

unprecedented effort by the executive to undermine the independence of the legal profession by

subjecting it to the whims of the President. Such independence is necessary to enable lawyers to


1
 The brief addresses Executive Order. No. 14263, codified at 90 Fed. Reg. 15615 (Apr. 15, 2025) titled
“Addressing Risks from Susman Godfrey” and the accompanying Fact Sheet titled “Fact Sheet: President
Donald J. Trump Addresses Risks from Susman Godfrey” of the same date (“Fact Sheet”).

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fulfill their duty to represent clients without interference from any other party, especially the

government. By threatening law firms, the Order also attempts to limit the issues that lawyers can

raise in courts. This is a fundamental challenge to the rule of law, because it seriously weakens the

ability of the legal system to serve as a check on the exercise of executive power.

       The Order purports to establish broad and vague standards of professional conduct that are

framed in conclusory terms without any effort to define them. It claims that Susman Godfrey

“spearheads efforts to weaponize the American legal system and degrade the quality of American

elections,” “funds groups that engage in dangerous efforts to undermine the effectiveness of the

United States military through the injection of political and radical ideology,” and “supports efforts

to discriminate on the basis of race.” Order §1. The Order does not explain precisely what it

means to “weaponize” the legal system, “degrade the quality of American elections,” or engage in

“dangerous” efforts to “undermine the effectiveness of the United States military,” or what

constitutes “political and radical ideology.” Nor does it indicate what it means for the firm to “fund

groups”, to “support efforts”, or exactly what it has done, to “discriminate on the basis of race.”

These terms simply mean what the President wants them to mean.

       The Order then determines that Susman Godfrey’s lawyers have violated these vague

“standards” of professional conduct and imposes draconian sanctions on the firm for violation of

them.. It discourages parties from becoming clients of Susman Godfrey by: (1) threatening them

with losing or being ineligible for government contracts; (2) implicitly limiting the types of claims

that the firm may bring on their behalf and the arguments it may make in support of those claims

for fear of offending the administration; (3) undermining the ability of the firm’s lawyers to

represent them effectively by denying lawyers security clearances, the ability to enter federal

buildings, and the ability to meet with government employees; and (4) creating the threat that those



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who seek to hire the firm will be guilty by association and may be the target of other adverse action

by the administration. To state the obvious, a law firm’s financial survival is based on its

representation of clients. The intent of the order is to cripple a preeminent law firm because the

President disapproves of the clients and causes that it represents.

        The President has issued executive orders against additional law firms, and has stated that

he intends to pursue still other firms for behavior that he deems “very dishonest.” The President

has intensified his campaign with a memorandum to the Attorney General regarding “Preventing

Abuses of the Legal System and the Federal Courts,” which directs that official to “seek sanctions

against attorneys and law firms who engage in frivolous, unreasonable, and vexatious litigation”

against the United States and in agency proceedings. The memo also directs the Attorney General

to review conduct by lawyers in such matters over the last eight years. This is, of course, the period

in which various investigations of the President occurred, indicating that his ostensible concern

about lawyer misconduct will be focused on representation in matters involving him or of which

he disapproves.

        The Order thus is part of a concerted campaign to place certain law firms on an “enemies

list” that could put their very survival in jeopardy. The goal is to condition law firms’ ability to

practice law and serve their clients on the President’s approval of their conduct. By usurping the

authority of the judiciary and attempting to make the legal profession subservient to the executive,

the Order interferes with the ability of lawyers to fulfill their professional responsibilities to their

clients. Furthermore, it weakens the ability of the legal system to vindicate individuals’ rights, and

to hold the President and the executive branch accountable to the rule of law.




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                                           ARGUMENT

   I.       The Executive Order is a Usurpation of Judicial Authority that Violates Basic
            Rule of Law Principles

         It is a well-settled principle in the United States that, with minor exceptions, primary

responsibility for regulating lawyers’ conduct rests with the judicial branch. As the 2018 American

Bar Association Report on the Evaluation of Disciplinary Enforcement noted, “[e]xclusive judicial

regulation of lawyers has developed since colonial times.” By the late 1800s, “state courts were

asserting an exclusive right to regulate lawyers” based on “the constitutional doctrines of inherent

power and separation of powers”. Id. 8. “Today,” the Report observed, “judicial regulation of

lawyers is a principle firmly established in every state.” Id. 8. The highest court in each

jurisdiction has the authority to establish and enforce rules of professional conduct for lawyers

who are members of the bar in that jurisdiction, as well as for lawyers from other jurisdictions who

participate in proceedings in the state.

         In addition to regulation by the highest court in each jurisdiction, individual courts have

the authority to discipline lawyers who appear before them for misconduct. Today there is also

limited legislation in some states that regulates specific lawyer conduct. See, e.g., N.Y. Judiciary

Law §§ 90–499 (fraudulent legal practice); Florida Statutes Title XXXII, Chapter 454 (soliciting

clients at accident scenes or hospitals). When courts are confronted with these legislative efforts,

they typically consider whether to uphold them as a matter of comity. See, e.g., Ark. Properties v.

Cameron, 681 S.W.3d 133, 140 (Ky. 2023)

         Finally, there is very limited executive branch regulation of the conduct of lawyers. This

involves rules established by several federal agencies governing the conduct of lawyers and others

in agency proceedings and dealings with the agency. See, e.g., 17 C.F.R. § 201.102(e) (Securities

& Exchange Commission); 37 C.F.R. Part 11 (Patent & Trademark Office). Authority for such

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provisions is based on the need to enable agencies to perform their statutory functions. See Touche

Ross Co. v. SEC, 609 F.2d 570, 582 (2d. Cir. 1979) (SEC Rule 2(e) “provides the Commission

with the means to ensure that those professionals, on whom the Commission relies heavily in the

performance of its statutory duties, perform their tasks diligently and with a reasonable degree of

competence”). As one prominent scholar notes, “The vast majority of rules apply to lawyers

practicing before an agency acting in its judicial capacity.” George M. Cohen, The Laws of Agency

Lawyering, 84 Fordham L. Rev. 1963, 1978-1979 (2016).

         The central role of the judicial branch in regulating lawyer conduct reflects lawyers’

distinctive role in the U.S. legal system. As the preamble to the American Bar Association Model

Rules of Professional Conduct declares, “A lawyer, as a member of the legal profession, is a

representative of clients, an officer of the legal system and a public citizen having special

responsibility for the quality of justice.” Lawyers have a special responsibility to sustain what the

commentary to Rule 1.3 of the DC Rule of Professional Conducts calls “our government of laws

and not of individuals.” 2 This requires that they be able to represent clients who seek to challenge

the legality of executive or legislative action in order to affirm the principle that no one is above

the law. In doing so, lawyers are required “honestly and ably to aid the courts in securing an

efficient administration of justice.” In re Integration of Nebraska State Bar Association, 275 N.W.

265, 268 (1937). Thus, “[t]he practice of law is so intimately connected and bound up with the

exercise of judicial power and the administration of justice that the right to define and regulate its

practice naturally and logically belongs in the judicial department.” Id.

         Attempts by the executive branch, particularly the Office of the President, to engage in

expansive regulation of lawyers’ conduct pose the especially serious danger of punishing lawyers


2
  Citations in this brief are to the DC Rules of Professional Conduct, which are generally representative of the rules
in other jurisdictions.

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who represent clients seeking to hold the executive accountable under the law. This country’s

history illustrates the gravity of this risk. The Crown’s colonial representatives resorted to

disbarment “more than occasionally to punish or neutralize lawyers who were perceived as

politically out-of-step or otherwise uncooperative.” Charles W. Wolfram, Toward a History of

American Legal Ethics-I. Origins, 8 Univ. of Chicago L. School Roundtable 469, 476 (2001). As

with the Order that is at issue in this case, such brazen political interference with lawyers’ practice

is fundamentally inconsistent with the rule of law.

        The importance of preserving the independence of lawyers has on occasion resulted in

striking down even the judicial exercise of authority over lawyers. In In re Austin, 5 Rawle 191

(Pa. 1835), most of the lawyers in a county in Pennsylvania were disbarred by the Court of

Common Pleas for publishing criticism of the President of that court that the court regarded as

disrespectful. The Pennsylvania Supreme Court, however, struck down this sanction. "[T]o subject

the members of the profession to removal at the pleasure of the court," the Chief Justice said,

“would leave them too small a share of the independence necessary to the duties they are called to

perform to their clients and to the public. As a class, they are supposed to be, and in fact have

always been, the vindicators of individual rights, and the fearless asserters of the principles of civil

liberty; existing where alone they can exist, in a government not of parties or men, but of laws!”

Id. at 203.

        The District of Columbia Court of Appeals, the highest court in that jurisdiction, is

representative in its statement of the judiciary’s regulatory authority:

        In the exercise of its inherent jurisdiction over members of the legal profession, the
        Court established the District of Columbia Bar and the Board on Professional
        Responsibility. The Court has the power to promulgate the rules regarding attorney
        discipline and to impose discipline upon attorneys. The Board on Professional
        Responsibility is the disciplinary arm of the Court, which administers the attorney



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        discipline system and supports it in the adjudication of disciplinary cases.
        https://www.dccourts.gov/court-of-appeals/learn-more/attorney-discipline
        This authority of the judicial branch to regulate lawyer professional conduct helps ensure

that the legal system and the lawyers who practice in it are protected as much as possible from

political influence, especially from the executive because of the fear of concentrating power in that

branch of government.

        Lawyers must be allowed to represent clients without fear of political persecution to ensure

that “each member of our society is entitled to have such member’s conduct judged and regulated

in accordance with the law; to seek any lawful objective through legally permissible means; and

to present for adjudication any lawful claim, issue, or defense.” DC Rule of Professional Conduct

1.3, comment 2.

        The goal of the Order to punish the firm based simply on the personal preferences of the

President is reflected in the complete absence of any of the procedural protections provided in

judicial regulation of professional conduct that are integral to the rule of law. It is worth describing

in some detail the procedures that the judiciary follows in establishing and applying rules of

professional conduct to underscore this point.

        Judicially established rules governing the conduct of the profession are adopted only after

extensive opportunity for comment by lawyers, deliberation by the court, and notice of a final

decision and the date on which a rule will be effective. See, e.g., D.C. Court of Appeals, No. M287-

24, Notice, December 10, 2024. Rules also include extensive comments that explain their

rationales and clarify their application.

        Furthermore, lawyers are subject to sanctions for violation of judicially-established rules

only after notice of an alleged violation, an opportunity to respond, and application of general rules

to particular conduct that is accompanied by a statement of the reasons for a decision. DC Court


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of Appeals Rule XI is an example of such procedural protections. It requires that in order to initiate

disciplinary proceedings, Disciplinary Counsel must file a petition under oath and provide a copy

to the attorney who is the subject of the proceedings. The petition must be “sufficiently clear and

specific to inform the attorney of the alleged misconduct.” Rule XI, Disciplinary Proceedings,

Section 8: Investigation and Hearings, 8(c).

        The attorney has 20 days to file a reply to the petition. Section 8(d). After a hearing is

scheduled, the attorney must be given notice of the date and place of the hearing, which must be

at least 15 days after the service of the notice. The notice “shall also advise the attorney that, at the

hearing, the attorney shall have the right to be represented by counsel, to cross-examine witnesses,

and to present evidence in defense or mitigation of the charges.” Id.

        The Hearing Committee must submit a report to the Board on Professional Responsibility

within 120 days with its findings and recommendations. Section 9. If the attorney files an

exception to the report, the matter is scheduled for submission of briefs and oral argument before

the Board. If the Board recommends disbarment or suspension, the attorney has 30 days to show

cause why the Court should not enter an order of suspension pending final action on the Board's

recommendation. In cases in which exceptions have been filed, the DC Court of Appeals schedules

the matter for consideration.

        The Order’s absence of any semblance of due process in establishing ostensible standards,

determining that Susman Godfrey lawyers have violated them, and imposing sanctions on the entire

firm is of course a violation of the Constitution in itself, a point on which counsel for the firm and

other amicus briefs elaborate. Beyond this, however, it is antithetical to the rule of law because it

reflects the exercise of executive power based purely on the President’s desires unfettered by any

legal standards.



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         First, the Order effectively purports to establish standards of professional conduct that

lawyers at Susman Godfrey have violated. These “standards” are prohibitions on “spearhead[ing]

efforts to weaponize the American legal system and degrade the quality of American elections,”

“fund[ing] groups that engage in dangerous efforts to undermine the effectiveness of the United

States military through the injection of political and radical ideology,” and “support[ing] efforts to

discriminate on the basis of race.” Order §1. The Order provides not the slightest indication of

what any these vague and conclusory terms mean. Nor does it indicate what it means for the firm

to “fund groups”, to “support efforts”, or exactly what it has done to “discriminate on the basis of

race.”

         As the firm’s Complaint for Declaratory and Injunctive Relief describes, Susman Godfrey

represented Dominion Voting Systems against Fox News Network in Dominion’s claim that the

network defamed the company by falsely reporting that it has tampered with voting machines to

benefit Democratic Presidential candidate Joe Biden in the 2020 Presidential election. Fox settled

that case for $787 million. Susman Godfrey LLP v. Executive Office of the President, Complaint

for Declaratory and Injunctive Relief. ¶93. The firm also represents Dominion against Newsmax

Media in a case involving the same claim. The court in that case has granted summary judgment

to Dominion, finding that Newsmax made false and defamatory statements. Id. Susman Godfrey’s

success in contesting false claims about the 2020 election that the President continues to propagate

presumably is what the Order means when it says that the firm is engaged in efforts to “degrade

the quality of American elections.” Beyond this, the firm “represents clients in matters directly

adverse to President Trump’s personal and political interests.” Id. ¶96 It also has filed an amicus

brief on behalf of former federal government officials in support of Perkins Coie LLP’s challenge

to nthe executive order targeting that firm. Id.



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         The Order thus violates the fundamental rule of law tenet that the government may not

subject someone to penalties based on putative violation of standards so vague as to enable the

President to penalize whomever he wishes based simply on his personal displeasure with them.

By leaving a law firm completely at the mercy of the President’s discretion, the Order is a direct

repudiation of the basic principle of the United States system of government that the executive is

constrained by law.

         The putative standards were adopted with no notice that the standards were under

consideration, no opportunity to comment on them, and no clear explanation of what they mean

and the rationale for adopting them. Furthermore, in applying these standards to Susman Godfrey,

the Order gave no notice to the firm of the accusations against its lawyers and no opportunity to

respond to them, call witnesses on its behalf, or contest the accusations in a hearing before a neutral

decision maker. Nor has the firm received any reasoned explanation for the decision to penalize

the firm. The basis for the sanctions is simply the President’s conclusory allegations. By violating

basic principles of due process and impartiality, the Order provides a vivid reminder of the critical

importance of the rule of law in checking what otherwise would be unconstrained executive power.

It is a stark reminder of why the judicial branch, not the executive, has the primary responsibility

for regulating the conduct of lawyers.



   II.      The Order Directly Interferes with the Professional Responsibilities of Lawyers

         Lawyers are required to follow judicially-established rules of professional conduct and face

disciplinary sanctions for violating them. By purporting to establish standards of conduct at odds

with the rules of professional conduct, the Order attempts to coerce lawyers not to follow the

judiciary’s rules of professional conduct. This directly interferes with lawyers’ ability to provide

adequate representation to clients. Cf. Makesom v. Martin County, 491 So.2d 1109 (Fla. 1986)

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(finding that a court had inherent authority to invalidate a legislative limit on attorney’s fees in

representing indigent criminal defendants, when limiting a fee to the statutory maximum would

interfere with the Sixth Amendment right to effective assistance of counsel).

       First, the Order interferes with lawyers’ duties to pursue a client’s lawful goals through any

means permitted by the law. As DC Rule of Professional Conduct Rule 1.3 provides:

       (a) A lawyer shall represent a client zealously and diligently within the
       bounds of the law.

        (b) A lawyer shall not intentionally:

       1) Fail to seek the lawful objectives of a client through reasonably available
          means permitted by law and the disciplinary rules.

Comment 1 to the Rule says, “This duty requires the lawyer to pursue a matter on behalf of a client

despite opposition, obstruction, or personal inconvenience to the lawyer, and to take whatever

lawful and ethical measures are required to vindicate a client’s cause or endeavor.”

       The Order, however, effectively requires that Susman Godfrey lawyers’ representation of

clients be guided not by the law and the rules of professional conduct, but by concern about

whether the president will find objectionable the clients they represent and the positions they take

on behalf of them.

       This need for lawyers to ensure that they do not displease the President is fundamentally

at odds with their professional responsibility to diligently represent clients within the bounds of

the law rather than to be influenced by fear of political disfavor. By interfering with this

responsibility of lawyers, the Order will help concentrate the power of the executive by limiting

the ability of the legal system to serve as a check on that power.

       Lawyers’ ability to exercise independent judgment in representing clients is especially

crucial in criminal proceedings. The right to effective assistance of counsel in such proceedings



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“is critical to the ability of the adversarial system to produce just results. An accused is entitled to

be assisted by an attorney, whether retained or appointed, who plays the role necessary to ensure

that the trial is fair." Strickland v. Washington, 466 U.S. 668, 685 (1984). The Court in Strickland

said that the government violates this right “when it interferes in certain ways with the ability of

counsel to make independent decisions about how to conduct the defense." Id. at 686. If the Order

stands, lawyers who fear executive retribution will be less likely to represent defendants in

prosecutions brought by the administration, thus reducing the availability of experienced counsel

in such proceedings. Those who are willing to do so will have an incentive to avoid presenting

defenses with which the executive disagrees.

        This is a profound threat to the rule of law because it enhances the executive’s ability to

use its formidable power of criminal prosecution against political opponents. This is not simply a

theoretical possibility, since the President commonly characterizes many people with whom he

disagrees as criminals. See, e.g., Nnamdi Egwuonwu and Ryan J. Reilly, “Trump calls for jailing

his perceived opponents in Justice Department speech,” NBC News, March 14, 2025. As the Wall

Street Journal has reported, “While every FBI director since J. Edgar Hoover has taken pains to

keep the White House at arm’s length, the new Trump administration has taken the opposite tack,

working to bring the traditionally independent ethos of the FBI and Justice Department firmly

within the president’s grasp.” “Trump Tightens Grip on FBI and Justice Department,” Wall Street

Journal, March 7, 2025.

        Related to this, the Order is in direct conflict with the long-standing principle in our country

that lawyers should provide representation on behalf of socially or politically unpopular people or

causes. DC Rule of Professional Conduct 1.2(b), for instance, encourages this by providing, “A

lawyer’s representation of a client, including representation by appointment, does not constitute



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an endorsement of the client’s political, economic, social, or moral views or activities.” As

comment 3 to that Rule says, “Legal representation should not be denied to people who are unable

to afford legal services, or whose cause is controversial or the subject of popular disapproval.”

The rule of law insists that all persons are equal before the law and are entitled to present their

claims regardless of popular opinion.

        This principle is exemplified by John Adams’ decision to represent British soldiers accused

of murder in the Boston Massacre in 1775. Adams did this knowing that his decision would elicit

criticism. It did: “The patriots of Boston railed against [Adams and his co-counsel]. It was said

that rocks had been thrown through the windows of Adams’s home. The men were jeered in the

streets. Clients were lost.” David Fisher & Dan Adams, John Adams under Fire: The Founding

Father's Fight for Justice in the Boston Massacre Murder Trial 35 (2020). Adams nonetheless

insisted that “every lawyer must hold himself not only to his country, but to the highest and most

infallible of all tribunals for the part he should act.” “Counsel ought to be the very last thing that

an accused person would [lack] in a free country,” Adams said. “The bar ought to be independent

and impartial at all times and in every circumstance.” Id. 32

        Consistent with current rules of professional conduct, “Adams made sure to profess no

sympathy for the accused officer, making it clear that he was not so much defending the man as

defending the law.” Id. 33. By discouraging representation of clients who are unpopular with the

executive, the Order will reduce the availability of lawyers who are willing to follow Adams’s

example.

        The Order also undermines the integrity of the legal system by interfering with Susman

Godfrey lawyers’ ability to competently represent their clients. DC Rule of Professional Conduct

1.1 states:



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        a) A lawyer shall provide competent representation to a client. Competent
        representation requires the legal knowledge, skill, thoroughness, and preparation
        reasonably necessary for the representation.

        (b) A lawyer shall serve a client with skill and care commensurate with that
        generally afforded to clients by other lawyers in similar matters.

        Suspending Susman Godfrey lawyers’ security clearances, denying them access to federal

buildings, limiting government employees’ interaction with them, and refusing to provide them

with Sensitive Compartmented Information Facilities can prevent them from competently and

effectively representing clients in proceedings involving the government as required by the rules.

Under these circumstances, lawyers will need to determine if these disabilities will impair their

ability to effectively represent their clients. If so, they will need to seek leave to withdraw from

representation, thus depriving clients of their right to counsel of their choice. See, e.g., DC Rule

of Professional Conduct 1.16(a)(1).

        This right of clients is essential because a client must have confidence and trust in their

lawyer in order for the representation to be effective. The client must be willing to disclose to the

lawyer information that may be sensitive or embarrassing and must believe that the lawyer at all

times is pursuing their interest. Courts therefore give great weight to a client’s choice of counsel.

See, e.g., Consumers Beverages, Inc. v Kavcon Dev. LLC, 227 AD3d 1381 (N.Y. App. Div. 4th

Dept. 2024): “[W]e note the seriousness of a motion to disqualify a party’s counsel of choice.

Disqualification of a law firm during litigation implicates not only the ethics of the profession but

also the substantive rights of the litigants”).

        The right is especially crucial in criminal proceedings. As the Supreme Court stated in the

landmark case of Powell v. Alabama recognizing the right to counsel in capital cases, “It is hardly

necessary to say that, the right to counsel being conceded, a defendant should be afforded a fair

opportunity to secure counsel of his own choice.” 287 US 45, 53 (1932).

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       Another way in which the Order will undermine the professional responsibilities of lawyers

in a democratic legal system is through the operation of attorney conflict of interest rules. DC Rule

of Professional Conduct 1.7(b)(4), as do rules in other jurisdictions, provides that a lawyer shall

not represent a client if “[t]he lawyer’s professional judgment on behalf of the client will be or

reasonably may be adversely affected by . . .the lawyer’s own financial, business, property, or

personal interests.” Lawyers may reasonably fear that representation that displeases the President

will result in public excoriation, denial of government contracts, loss of security clearance or

access to federal buildings, and other potential disadvantages.

       A lawyer whose representation of a client is influenced by the desire to avoid incurring

these penalties would be violating their professional responsibility. In order to avoid this situation,

lawyers are likely to represent clients who will not challenge the administration’s actions, not bring

claims against those whom the President regards as his supporters, and not advance legal

arguments that the President finds threatening or with which he may disagree. The result will be

to limit the number of firms that will undertake representation of clients who challenge actions by

the executive. A predictable consequence as well is to reduce the number of parties who are willing

to retain Susman Godfrey and other firms that are the target of similar executive orders. The Order

thus uses the rules of professional conduct as an instrument to interfere with clients’ right to

effective representation by counsel of their choice, and to prevent firms from holding the executive

accountable under the law.

       Finally, the Order’s interference with the ability of lawyers to practice in accordance with

rules of professional conduct impairs potential clients’ First Amendment right to petition the

government for redress of grievances. Reliance on counsel can be crucial to enable the exercise of

this right. Comment 1 to DC Rule of Professional Conduct 6.1 on pro bono service, for instance,



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notes, “The rule. . .recognizes that the rights and responsibilities of individuals and groups in the

United States are increasingly defined in legal terms and that, as a consequence, legal assistance

in coping with the web of statutes, rules, and regulations is imperative for persons of modest and

limited means, as well as for the relatively well-to-do.” The Order attempts to preclude Susman

Godfrey from assisting clients in seeking redress for certain types of grievances, thus interfering

with this First Amendment right.

       In sum, the Order prevents Susman Godfrey lawyers from fulfilling professional

responsibilities that are integral to the functioning of an impartial legal system. The Order limits

lawyers’ ability to represent clients diligently within the bounds of the law by effectively requiring

them to take into account whether the President is likely to disapprove of their representation. It

limits their ability to represent clients competently by threatening to deprive them of access to

resources that they may need to do so. It discourages lawyers from representing clients who are

unpopular with the President and his supporters and threatens, in particular, to interfere with

providing effective assistance of counsel in criminal proceedings. A lawyer who reasonably fears

being penalized by the Order may not be able to fulfill the duty to represent a client without regard

for the lawyer’s own personal interest. If so, the lawyer must withdraw from or decline

representation of clients. Lawyers are crucial in ensuring that the executive is constrained by the

rule of law, and the Order significantly impairs their ability to do so.

       Finally, it is important to emphasize that the Order is not directed simply at individual

lawyers. The Order imposes penalties on all lawyers in the firm, regardless of their individual

conduct. This makes clear that its concern is not with specific putative improper conduct. Rather,

it is with the ability of Susman Godfrey to use its reputation, experience, and resources to represent

clients and advance legal arguments that could challenge the legality of the administration’s



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actions. That the goal is to hinder a significant portion of the legal profession from presenting such

challenges is made clear by administration actions targeting other prominent law firms, and by the

President’s statement that he is planning similar measures against several other major law firms

that are especially well equipped to provide such representation. As he has said, ““We have a lot

of law firms that we’re going to be going after because they were very dishonest people.” Elvin

Mulvaney & C. Ryan Barber, “Fear of Trump Has Elite Law Firms in Retreat,” Wall Street Journal,

March 7, 2025. The same article says, “Advocacy groups and smaller law firms say it has been

more difficult to recruit larger firms to help with cases against Trump.”

       The administration therefore is attempting to sideline many lawyers who are in an

especially good position to hold it legally accountable. This is fundamentally at odds with the

basic principle that no person – least of all the executive – is above the law.


                                          CONCLUSION

       The President’s intrusion on judicial authority to regulate the legal profession, and the

resulting impact on lawyers’ independence and clients’ ability to select the counsel of their choice,

have grave consequences for the rule of law in this country.

       The Order targeting Susman Godfrey, similar retaliatory executive orders targeting other

firms, and the threat of action against still other firms constitutes a campaign to dissuade law firms

on pain of sanctions from: (1) representing any clients disfavored by the President; (2) presenting

claims that the President dislikes against the Government or against anyone whom he supports,

regardless of the legal merits of the client’s claim; and (3) advancing any legal position that the

President disfavors, regardless of the legal viability of that position. As such, it represents an

unmistakable attempt to limit the legal accountability of the President through intimidation of the

legal profession.


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       This message is not lost on major law firms. As one law firm advisor has said, “American

law firms have always represented interests adverse to the US government, without worrying if

there would be retribution or sanctions until now… It’s created just an incredible amount of fear.”

Katelyn Polantz, “The chilling effect of Trump’s war against the legal establishment,” CNN, March

11, 2025.

       The impact of these provisions effectively is that the President is publicly placing Susman

Godfrey and any other firms it chooses on an administration “enemies list.” If the Order stands,

nothing will prevent the President from systematically doing the same to any firm he fears might

represent clients posing any challenge to his exercise of power. The Order therefore is a

fundamental assault on the rule of law and the very integrity of the Unites States legal system.



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                             CERTIFICATE OF COMPLIANCE

       Pursuant to LCvR 7(o), I hereby certify that this brief conforms to the requirements of

LCvR 5.4, complies with the requirements set forth in Fed. R. App. P. 29(a)(4), and does not

exceed 25 pages in length.

       DATED this 24th day of April 2025.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 24th, 2025, I electronically filed the original of this brief with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all attorneys

of record by operation of the Court’s electronic filing system.

       DATED this 24th day of April 2025.

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